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               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:11cv79

 NATIONAL ALLIANCE FOR                           )
 ACCESSIBILITY, INC., a Florida                  )
 Non-Profit Corporation; and                     )
 DENISE PAYNE, individually,                     )
                                                 )
       Plaintiffs,                               )
                                                 )
 v.                                              )    ORDER
                                                 )
 BHUNA CORPORATION, a North                      )
 Carolina Corporation,                           )
                                                 )
      Defendant.                                 )
 _______________________________                 )

       Pending before the Court is Defendant’s Motion for Attorney Fees [# 28].

 Plaintiffs brought this action against Defendant alleging violations of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”). The Court

 then recommended that the District Court grant Defendant’s motion and dismiss

 this case for lack of standing. The District Court adopted the Memorandum and

 Recommendation of this Court and dismissed this case. Defendant now moves for

 an award of attorneys’ fees pursuant to 42 U.S.C. § 12205. The Court DENIES

 Defendant’s motion [# 28].




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        I.     Analysis

        That ADA provides that “[i]n any action . . . commenced pursuant to this

 chapter, the court . . . in its discretion, may allow the prevailing party . . . a

 reasonable attorney’s fees . . . .” 42 U.S.C. § 12205. An award of fees under

 Section 12205 is subject to the discretion of the trial court. See Dillery v. City of

 Sandusky, 398 F.3d 562, 569 (6th Cir. 2005); 42 U.S.C. § 12205. Unlike a

 prevailing plaintiff, a prevailing defendant may recover its fees in an ADA case

 only where the plaintiff’s claim “was frivolous, unreasonable, or groundless, or . . .

 the plaintiff continued to litigate after it clearly became so.” Christiansburg

 Garment Co. v. EEOC, 434 U.S. 412, 422, 98 S. Ct. 694 (1978); see also Goldstein

 v. Costco Wholesale Corp., 337 F. Supp. 2d 771, 774 (E.D. Va. 2004) (holding that

 Christiansburg standard applies to Section 12205). Accordingly, Defendant may

 recover its fees in this case only if: (1) it is a prevailing party within the meaning of

 Section 12205, and (2) the Court finds that Plaintiffs’ claims were frivolous,

 unreasonable, or groundless. Assuming Defendant can satisfy these two threshold

 requirements, then the Court must determine what amount of fees is reasonable

 under the circumstances. See Rhoads v. F.D.I.C., 286 F. Supp. 2d 532, 541 (D.

 Md. 2003).

        As a threshold matter, Defendant has not demonstrated that it is a prevailing



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 party within the meaning of Section 12205. See generally Buckhannon Bd. & Care

 home, Inc. v. W. Va. Dep’t of Health & Human Res., 532 U.S. 598, 603, 121 S. Ct.

 1835 (2001) (explaining that the term “prevailing party” is a term of legal art and

 discussing the context in which a party is the prevailing party under the ADA);

 Hutchinson v. Patrick, 636 F.3d 1 (1st Cir. 2011) (addressing whether a party is a

 prevailing party under the ADA). Defendant does not even address this threshold

 requirement in its motion. Simply because the Court granted its motion to dismiss

 and dismissed this action for lack of standing, does not necessarily render

 Defendant a prevailing party. See e.g., Davis v. Jackson, 776 F. Supp. 2d 1314,

 1318 (M.D. Fla. 2011) (holding that a dismissal for lack of standing under the

 Clean Water Act does not make a defendant a prevailing party justifying an award

 of fees); Wendt v. Leonard, 431 F.3d 410, 414 (4th Cir. 2005) (recognizing circuit

 split as to whether a dismissal for lack of subject matter jurisdiction allows for an

 award of fees under 42 U.S.C. § 1988). Because Defendant has not met its initial

 burden of demonstrating that it is a prevailing party within the meaning of Section

 12205, the Court DENIES the motion [# 28].1

       1
          Moreover, even assuming that Defendant was a prevailing party, an award
 of fees is not warranted in this case because the Court cannot find that Plaintiffs’
 claims were frivolous, unreasonable, or groundless. See Christiansburg, 434 U.S.
 at 422. Although this Court found that Plaintiffs lacked standing to bring this
 action because the Complaint fails to allege facts demonstrating an actual or
 imminent injury sufficient to satisfy the injury-in-fact requirement of standing, the

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       II.    Conclusion

       The Court DENIES Defendant’s Motion for Attorney Fees [# 28].



                                          Signed: April 10, 2012




 Court cannot say that the underlying claims brought by Plaintiffs are groundless or
 frivolous. In fact, Plaintiffs may be correct in their assertion that Defendant’s
 facility violates the ADA; Plaintiffs, however, are simply the incorrect parties to
 bring these issues before the Court.

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